    Case 3:24-cv-08154-DJH          Document 93       Filed 05/09/25      Page 1 of 3




ADAM R.F. GUSTAFSON
Acting Assistant Attorney General

DANIEL LUECKE
Trial Attorney
MATTHEW MARINELLI
Senior Attorney
Natural Resources Section
United States Department of Justice
P.O. Box 7611
Washington, D.C. 20044-7611
(202) 353-1389
daniel.luecke@usdoj.gov
(202) 305-0293
Matthew.marinell@usdoj.gov

Rickey D. Turner, Jr.
Wildlife & Marine Resources Section
999 18th Street
South Terrace, Suite 370
Denver, CO 80202
rickey.turner@usdoj.gov
Attorneys for Federal Defendants

                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA

 Hualapai Indian Tribe of the Hualapai Indian            Case No. 3:24-cv-08154-DJH
 Reservation, Arizona,
                                                         JOINT STATUS REPORT
           Plaintiff,

 vs.

 Doug Burgum, United States Secretary of the
 Interior, et al.,

           Federal Defendants



       Federal Defendants and Plaintiffs report the following in response to the Court’s March
4, 2025 Order to “file a status report regarding appropriate next steps in this case.” ECF No. 92.
   1) On August 22, 2024, the Court issued a temporary restraining order. ECF No. 21. The
order enjoined Defendants “from authorizing or allowing any ground disturbance, construction,
    Case 3:24-cv-08154-DJH           Document 93       Filed 05/09/25     Page 2 of 3




operation, or other activity approved by the BLM’s July 9, 2024, Decision Letter or its June 6,
2024, Decision Record, Finding of No Significant Impact, and Final Environmental Assessment
until further order of the Court.” Id.
   2) On August 23, 2024, the Court granted the Parties’ Joint Stipulated Request to Permit
Reclamation Efforts to allow Arizona Lithium to reclaim drill pads, cover up tracks from the
sites, and remove equipment. ECF No. 34.
   3) Arizona Lithium completed those activities within the timeframe permitted by the Court.
See id.
   4) On November 5, 2024, the Court entered a Preliminary Injunction Order. ECF No. 81.
That order enjoined Defendants “from authorizing or allowing any ground disturbance,
construction, operations, drilling, or any other activity approved by the BLM’s July 9, 2024,
Decision Letter or its June 6, 2024, Decision Record, Finding of No Significant Impacts, and
Final Environmental Assessment until this case is fully resolved on the merits or until further
order of the Court.” Id. at 41.
   5) BLM reports that, in its view, the only remaining reclamation work that must be
completed is reseeding and that reseeding: 1) will occur during the rainy seasons, which are
typically between late June and early September and November through March; and 2) be
subject to subsequent inspection by BLM.
   6) BLM also reports that as part of the reseeding process, Big Sandy/Arizona Lithium will
likely need to rake native seeds into the soil. The parties do not interpret the Court’s November
5 Order as prohibiting reseeding or raking aimed at regenerating native vegetation.
   7) Hualapai does not object to this reseeding.
   8) Counsel for the Parties have spoken on several occasions regarding how to bring this case
to its conclusion following Arizona Lithium’s voluntary withdrawal of its previously approved
plan of operations for the challenged project. See ECF No. 92. Hualapai declined to voluntarily
dismiss its Complaint and suggested that Federal Defendants instead file a motion to dismiss.
Federal Defendants thus intend to file a motion to dismiss this case as moot.
          Respectfully submitted this 9th day of May, 2025.
  Case 3:24-cv-08154-DJH         Document 93   Filed 05/09/25     Page 3 of 3




/s/Laura Berglan by /s/ Matthew             ADAM R.F. GUSTAFSON
Marinelli pursuant to written               Acting Assistant Attorney General
authorization on May 9, 2025
Laura Berglan (AZ Bar No. 022120)           /s/ Matthew Marinelli
Heidi McIntosh (CO Bar No. 48230)           Daniel Luecke (CA Bar No. 326695)
Thomas Delehanty (CO Bar No. 51887)         Trial Attorney
EARTHJUSTICE                                Matthew Marinelli (IL Bar No.
633 17th Street, Suite 1600                 6277967)
Denver, CO 80202                            Senior Attorney
(303) 623-9466                              Natural Resources Section
lberglan@earthjustice.org                   Environment and Natural Resources Division
hmcintosh@earthjustice.org                  U.S. Department of Justice
tdelehanty@earthjustice.org                 P.O. Box 7611
                                            Washington, D.C. 20044-7611
/s/Roger Flynn by /s/ Matthew               (202) 353-1389
Marinelli pursuant to written               daniel.luecke@usdoj.gov
authorization on May 9, 2025                (202) 305-0293
Roger Flynn (CO Bar No. 21078)              Matthew.marinelli@usdoj.gov
Jeffrey C. Parsons (CO Bar No. 30210)
Western Mining Action Project               Rickey D. Turner, Jr
P.O. Box 349; 440 Main St., #2              U.S. DEPARTMENT OF JUSTICE
Lyons, CO 80540                             Environment and Natural Resources Division
(303) 823-5738                              Wildlife & Marine Resources Section
roger@wmaplaw.org                           999 18th Street
jeff@wmaplaw.org                            South Terrace, Suite 370
                                            Denver, CO 80202
Counsel for Plaintiff Hualapai Tribe        rickey.turner@usdoj.gov

                                            Attorneys for Federal Defendants




                                        .
